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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

 UNITED STATES OF AMERICA                                                                PLAINTIFF


 v.                                                              CRIMINAL NO. 3:21CR-101-DJH


 SEIKO ROSS                                                                            DEFENDANT


                                   WRIT OF HABEAS CORPUS
                                    AD PROSEQUENDUM


 TO THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT OF KENTUCKY,

 AND THE DIRECTOR OF THE LOUISVILLE METROPOLITAN CORRECTIONS

 DEPARTMENT, AT LOUISVILLE, KENTUCKY, GREETINGS:

        We command that you have the body of Seiko Ross, now detained in the Louisville

 Metropolitan Detention Center, at Louisville, Kentucky, under your custody as it is said, under

 safe and secure conduct on or before October 28, 2021 at 10:00 a.m., at Louisville, Kentucky, for

 appearance before the Judge of our District Court within and for the District aforesaid, and to

 remain in federal custody until final resolution of this case, for the purpose of defending, if he

 wishes, charges against him now pending in this Court, and after conclusion of said cause, that

 you return him to the said Louisville Metropolitan Detention Center, at Louisville, Kentucky,

 under safe and secure conduct, and have you then and there this writ.
